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20                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
21
     JAMES PARSONS, individually and as
22   Special Administrator of the Estate of Carolyn
     Lee Parsons, and ANN-MARIE PARSONS,
23                                                    Civil Action No. 2:19-cv-01189-APG-EJY
                              Plaintiffs,
24
     v.                                               DEFENDANTS’ MOTION TO CERTIFY
25                                                       ORDERS FOR DISCRETIONARY
     COLT’S MANUFACTURING COMPANY                      INTERLOCUTORY APPEAL UNDER
26
     LLC, et. al.,                                            28 U.S.C. § 1292(b)
27                   Defendants,

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 1          Defendants Colt’s Manufacturing Company LLC; Colt’s Defense LLC; Daniel Defense,

 2   LLC; Patriot Ordnance Factory, Inc.; FN America, LLC; Noveske Rifle Works LLC; Christensen

 3   Arms; Lewis Machine & Tool Company; LWRC International LLC; Discount Guns & Ammo;

 4   DF&A Holdings LLC; Maverick Investments LP; Guns & Guitars, Inc.; and Sportsman’s

 5   Warehouse, Inc. (collectively, “Defendants”), by counsel, pursuant to 28 U.S.C. § 1292(b), move

 6   the Court to certify the Order granting in part and denying in part Defendants’ Motion to Dismiss

 7   (ECF No. 98) (the “MTD Order”), and the Order denying Defendants’ Motion for Reconsideration

 8   (ECF No. 115) (the “Recon. Order”) (collectively, the “Orders”) to allow pursuit of a discretionary

 9   interlocutory appeal pursuant to Rule 5 of the Federal Rules of Appellate Procedure.

10                                             INTRODUCTION

11          Defendants respectfully request that the Court certify the Orders for an interlocutory

12   appeal because the three standards articulated in § 1292(b) are satisfied:

13          (1) The Orders involve controlling questions of law about whether Plaintiffs’ claims
                satisfy the predicate exception in the Protection of Lawful Commerce in Arms Act
14              (“PLCAA”), and whether Chevron deference should apply to the ATF’s interpretive
                rulings and its Final Rule on Bump-Stock-Type Devices (the “Final Rule”);
15

16          (2) There is substantial ground for difference of opinion. The parties dispute the
                interpretation of the Final Rule, which has been treated as merely interpretive here,
17              even though the D.C. Circuit and the Tenth Circuit reached the conclusion that the
                Final Rule was legislative; and
18
            (3) An appeal may advance the ultimate termination of the litigation because a
19
                determination that the subject rifles were not machineguns, or that Defendants did not
20              knowingly violate the law would be dispositive of the action, and save the Court and
                Parties considerable time and expense from continued litigation.
21
            The Court may also certify an appeal without the risk of undue delay or prejudice because
22

23   the case is already stayed pending consideration of questions of law certified to the Supreme Court

24   of Nevada. Because the Ninth Circuit has not yet spoken on these novel legal issues, Defendants

25   respectfully submit that the Court should certify the Orders for an interlocutory appeal and extend
26   the stay of litigation already in place pending Ninth Circuit review.
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 1                      PROCEDURAL BACKGROUND OF THE CONTESTED ORDERS

 2          On April 10, 2020, the Court found that Plaintiffs plausibly alleged wrongful death claims

 3   based on Defendants’ alleged violations of 18 U.S.C. § 922(b)(4) and Nev. Stat. § 202.350(1)(b),

 4   and that the violations satisfied the predicate exception to the PLCAA. See MTD Order at 11

 5   (ECF No. 98). The Court’s decision first distinguishes existing Supreme Court precedent because

 6   it did not consider the definition of a machinegun but rather focused on the mens rea component

 7   needed to show a criminal violation for possession of a machinegun. Id. at 9 (citing Staples v.

 8   United States, 511 U.S. 600, 612 (1994)). Both the criminal statute at issue in Staples and the

 9   predicate exception in dispute here require a knowing violation of the law. See 26 U.S.C. §

10   5861(d). The Court dismissed Defendants’ other legal arguments based on Plaintiffs’ allegations

11   that (1) bump stocks only recently emerged, and (2) the defendants knew that such devices

12   allowed their AR-15 type rifles to fire automatically through simple modification. Id. at 11.

13          Underpinning much of the MTD Order is the Court’s determination that it need not apply

14   deference to three ATF rulings (Nos. 82-2, 81-4, and 2006-2) (the “ATF Rulings”) because those

15   interpretative rulings were not promulgated through notice and comment proceedings. See id. at

16   10 n.6 (citing United States v. TRW Rifle 7.62X51mm Caliber, One Model 14 Serial 593006, 447

17   F.3d 686, 688 (9th Cir. 2006)).1 The Court set those interpretations aside in favor of Plaintiffs’

18   novel legal theory—that the ability to remove an existing stock and replace it with a bump stock

19   satisfied the statutory definition of “designed to shoot” automatically. Id. at 8–9. Although the

20   Order did not directly examine the Final Rule, the absence of analysis confirms that deference was

21   not afforded to the Final Rule’s legislative directive that firearms modified with bump stocks

22   would remain legal under the National Firearms Act of 1934 (“NFA”) and the Gun Control Act of

23   1968 (“GCA”) until its effective date on March 26, 2019. Compare id. at 11, with Aposhian v.

24
     1
         The MTD Order denied the ATF Rulings Auer deference, which is similar to Chevron
25       deference, but concerns an agency’s regulatory interpretations, rather than its statutory ones.
         See MTD Order at 10. The ATF Rulings and the Final Rule both interpret statutory language,
26       and therefore Chevron, not Auer, deference applies. Further, in TRW Rifle, the Ninth Circuit
         determined that the statutory language at issue was clear and unambiguous, and therefore, the
27       court did not need to look to the agency’s interpretation of the statute to render an
         opinion. See 447 F.3d at 692 (performing the first step of Chevron deference).
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 1   Barr, 958 F.3d 969, 980 (10th Cir. 2020). That effective date was approximately eighteen months

 2   after the shooting that underpins this litigation. See Compl. ¶¶ 131, 137 (ECF No. 1).

 3          On July 20, 2020, the Court denied Defendants’ Motion for Reconsideration, holding that

 4   neither the Final Rule, nor the ATF Rulings are eligible for Chevron deference. Recon. Order at 1

 5   (ECF No. 115). In declining to afford deference to the ATF Rulings, the Court noted that

 6   Defendants did not provide insight into the ATF’s decision-making process in labeling unmodified

 7   firearms “as semi-automatic rifles prior to installation of third-party components.” Id. at 5–6. As

 8   to the Final Rule, the Court held that Final Rule was issued solely to provide clarification to the

 9   phrases, “single function of the trigger” and “automatically.” Id. at 6–7. The Court found that the

10   Final Rule’s effective date did not compel dismissal because the Plaintiffs alleged knowing

11   violations of 26 U.S.C. § 5845(b) and 18 U.S.C. § 922(b)(4), which predate the shooting. Id. at 7–

12   8. The Court correctly noted that the Ninth Circuit has not directly addressed this issue and

13   declined to follow two recent decisions from other circuit courts that refused to label the Final

14   Rule as “merely interpretative.” Id. at 7 (acknowledging Guedes v. ATF, 920 F.3d 1 (D.C. Cir.

15   2019) and Aposhian v. Barr, 958 F.3d 969 (10th Cir. 2020), which hold that the Final Rule was

16   legislative based on its clear change to the enforcement standards for bump stocks under the GCA

17   and NFA).

18                                           LEGAL STANDARD

19          Certification by the trial court is necessary before a party may appeal an order that is

20   neither a final decision under 28 U.S.C. § 1291, nor an interlocutory order for which Congress has

21   expressly authorized an immediate appeal under 28 U.S.C. § 1292(a). Nonetheless, an immediate

22   discretionary appeal is authorized under 28 U.S.C. § 1292(b), so long as the orders in question

23   “[1] involve[] a controlling question of law [2] as to which there is substantial ground for

24   difference of opinion,” and where “[3] an immediate appeal from the order[s] may materially

25   advance the ultimate termination of the litigation.” Reese v. BP Expl. (Alaska) Inc., 643 F.3d 681,

26   687–88 (9th Cir. 2011) (quoting 28 U.S.C. § 1292(b)). The party moving to certify an order bears

27   the burden of demonstrating that the statutory requirements of 28 U.S.C. § 1292(b) are satisfied.

28   Couch v. Telescope Inc., 611 F.3d 629, 633 (9th Cir. 2010).

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 1                                                ARGUMENT

 2          The Court should certify the Orders for interlocutory appeal because (1) all of the three

 3   § 1292(b) factors are satisfied, (2) no substantial prejudice or delay will result by continuing the

 4   stay already in place, and (3) Defendants’ request is being made within a reasonable period after

 5   their Motion for Reconsideration was denied.

 6   I.     The Orders Consider Controlling Questions of Law.

 7          “[A]ll that must be shown in order for a question to be ‘controlling’ is that resolution of the

 8   issue on appeal could materially affect the outcome of litigation in the district court.” In re Cement

 9   Antitrust Litig., 673 F.2d 1020, 1026 (9th Cir. 1982). The question of law need not be dispositive of

10   the entire lawsuit in order to be regarded as controlling. See U.S. v. Woodbury, 263 F.2d 784, 787 (9th

11   Cir. 1959).

12          The Orders here are controlling because they directly address dispositive questions of law.

13   Defendants contend that Plaintiffs’ entire lawsuit, which seeks to hold them liable for injuries caused

14   by a third-party shooter, is barred by the PLCAA. See Defs.’ Mem. Supp. MTD at 2 (ECF No. 80).

15   The Court disagreed on legal grounds, finding that the predicate exception was satisfied because

16   Plaintiffs plausibly alleged wrongful death claims based on a knowing violation of a State or Federal

17   statute applicable to the sale or marketing of the firearms. See MTD Order at 5 (invoking 15 U.S.C. §

18   7903(5)(A)(iii)). The Court thereafter rejected Defendants’ argument that no violation of a

19   predicate statute can be shown, as a matter of law, if Chevron deference is afforded to the ATF

20   Rulings and the Final Rule. See Recon. Order at 7–8.

21          The contested findings do not concern an application of the facts to well-settled law.

22   Rather, the Parties disagree about (1) whether deference to the Final Rule requires a finding that

23   the subject rifles were sold legally at the time of the shooting, and (2) the extent to which existing

24   precedent, the ATF Rulings, and prior legislation control disputed questions of statutory

25   interpretation. Plaintiffs are pursuing novel, untested theories of recovery, and each of the above

26   disputes concern purely legal issues that are appropriate for an interlocutory appeal. See, e.g.,

27   Sanders v. City of Bakersfield, No. 1:04-cv-05541, 2007 WL 3274219, *3 (E.D. Cal. Nov. 5,

28   2007) (granting a motion to certify an order for interlocutory appeal). Because the Orders directly

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 1   address novel and dispositive questions of law, the identified issues qualify as “controlling” under

 2   § 1292(b).

 3   II.     There is Substantial Ground for Difference of Opinion.

 4           To permit an appeal under § 1292(b), there must be substantial ground for difference of

 5   opinion as to the question(s) raised. See Fortyune v. City of Lomita, 766 F.3d 1098, 1101 n.2 (9th

 6   Cir. 2014). A “substantial ground for difference of opinion” exists where reasonable litigants,

 7   governmental entities, or jurists might disagree on an issue’s resolution. See Reese v. BP Expl.

 8   (Alaska) Inc., 643 F.3d 681, 688 (9th Cir. 2011) (accepting certification of a discretionary appeal).

 9           Reasonable minds may differ on whether the mens rea standard articulated in Staples, the

10   ATF Rulings, the passage of a separate “assault weapons ban,” and the lack of any prosecutions

11   for selling AR-15 type rifles foreclose the possibility that the subject rifles were sold in knowing

12   violation of the NFA, the GCA, or Nevada law based solely on the availability of third-party

13   accessories. MTD Order at 8–11 (ECF No. 98). The same is true of the Court’s determination

14   that the Final Rule was enacted only to clarify the statutory terms “single function of the trigger”

15   and “automatically.” Recon. Order at 7 (ECF No. 115). Indeed, the Tenth Circuit held that the

16   Final Rule was legislative because it was “promulgated pursuant to a direct delegation of

17   legislative power,” and clearly enacted “changes [to] existing law, policy, or practice.” See

18   Aposhian, 958 F.3d at 979–80. (quoting Rocky Mountain Helicopters, Inc. v. F.A.A., 971 F.2d 544,

19   546 (10th Cir. 1992)). See also Guedes, 920 F.3d at 18 (“The Rule unequivocally bespeaks an

20   effort by the [ATF] to adjust the legal rights and obligations of bump-stock owners—i.e., to act

21   with the force of law. The Rule makes clear throughout that possession of bump-stock devices will

22   become unlawful only as of the Rule’s effective date, not before.”). It is the Final Rule’s clear

23   change to existing law that forms the crux of Defendants’ argument that no violation of a predicate

24   statute could have occurred because bump stocks, and rifles that were or could be modified with

25   such devices, were legal at the time of the shooting. See Defs.’ Mem. Supp. Recon. at 2 (ECF No.

26   108).

27           Courts traditionally find a substantial ground for difference of opinion where, as here,

28   various courts have reached different conclusions, and the court of appeals where the action is

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 1   pending “has not spoken on the point.” Couch v. Telescope Inc., 611 F.3d 629, 633 (9th Cir.

 2   2010). The present circumstances embody that standard precisely. A difference of opinion exists

 3   concerning the extent of Chevron deference afforded the Final Rule and the ATF Rulings, and the

 4   effect those agency decisions have on interpretation of the NFA and GCA. Plaintiffs and this

 5   Court have articulated one opinion, and Defendants, the D.C. Circuit, and the Tenth Circuit have

 6   expressed an opposing view. The “Ninth Circuit has not [yet] addressed the question.” Recon.

 7   Order at 7 (ECF No. 115).         Recognizing that reasonable minds might differ, Defendants

 8   respectfully request that the Court certify the Orders to provide the Ninth Circuit with an

 9   opportunity to resolve these unsettled questions of law.

10   III.   An Appeal Would Advance the Litigation Without Substantial Delay.

11          As for the third factor, an interlocutory appeal need not have a “final, dispositive effect on

12   the litigation,” but it must present an opportunity to “materially advance the litigation.” See Reese

13   v. BP Expl. (Alaska) Inc., 643 F.3d 681, 688 (9th Cir. 2011) (quoting 28 U.S.C. § 1292(b)).

14          For all the reasons noted above, the requested certification would advance the litigation

15   because there is a reasonable chance that the Ninth Circuit’s clarification of the law will align with

16   the persuasive authority cited by Defendants. If that happens, the interlocutory appeal will result

17   in dismissal of the entire lawsuit without the Court and the numerous parties enduring the time and

18   substantial expense associated with discovery, summary judgment motions, a potential trial, and

19   any subsequent appeals brought from a final decision. These savings would be substantial because

20   this case has not been pending for years, a trial date has not been selected, and discovery has not

21   yet commenced. Cf. Shurance v. Planning Control Int’l, Inc., 839 F.2d 1347, 1348 (9th Cir. 1988)

22   (refusing to allow an appeal that would delay a trial). As a result, the requested appeal presents an

23   opportunity to short-circuit years of potentially unnecessary litigation. In re Cement Antitrust

24   Litig., 673 F.2d 1020, 1026 (9th Cir. 1982) (finding interlocutory appeals appropriate to possibly

25   “avoid protracted and expensive litigation,” saving the court and parties “unnecessary trouble and

26   expense”).

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 1   IV.    A Stay of Litigation is Appropriate.

 2          A stay of litigation is not automatically required during discretionary appeals. See 28

 3   U.S.C. § 1292(b). But in this case, a stay of litigation would not impart undue prejudice or

 4   substantial delay on the parties or the Court. Importantly, the parties have already consented to,

 5   and the Court has ordered, a stay of litigation while certified questions of state law are answered

 6   by the Supreme Court of Nevada. See Stip. Order at 6 (ECF No. 104); Am. Order Certifying

 7   Questions at 1 (ECF No. 109). Because an appeal could proceed in parallel with the certification

 8   and stay already in place, the action is uniquely well-suited for an interlocutory appeal.

 9   V.     The Request for Certification is Timely.

10          Finally, no statute or rule imposes a strict deadline for seeking an interlocutory

11   certification by motion, but courts generally require a party to move “within a reasonable time

12   after the order sought to be appealed.” See Ahrenholz v. Board of Trustees of the Univ. of Ill., 219

13   F.3d 674, 675 (7th Cir. 2000); see also Allstate Ins. Co. v. Nassiri, No. 2:08–cv–369, 2012 WL

14   3879887, at *1 (D. Nev. Sept. 6, 2012) (“Section 1292 does not provide a timeframe in which a

15   request for certification of an order for interlocutory appeal must be made.”). What constitutes a

16   reasonable amount of time depends on the circumstances. In one case, the court accepted a gap of

17   nearly five months during which counsel took an extended vacation, while another court rejected a

18   request made only two months after entry of the disputed order. Compare Lopez v. Youngblood,

19   Case No. 1:07-cv-0474 DLB, 2009 WL 2062883, at *4 (E.D. Cal. July 15, 2009) (accepting a

20   five-month delay), with Richardson Elecs. Ltd. v. Panache Broadcasting of Pa., Inc., 202 F.3d

21   957, 958 (7th Cir. 2000) (finding two months to be “inexcusably dilatory”). Defendants are

22   seeking certification within ten days of the Reconsideration Order to ensure that, under any

23   standard, the certification request is made within a reasonable time.

24                                               CONCLUSION

25          As set forth above, the Orders satisfy the standards articulated in 28 U.S.C. § 1292(b), a

26   continuation of the stay already in place will not cause undue prejudice or delay, and the issue of

27   certification was timely raised. Accordingly, Defendants respectfully request the Court certify its

28   Orders to allow an interlocutory appeal under Rule 5 of the Federal Rules of Appellate Procedure.

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 1         Dated this 30th day of July 2020.

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23                                               Arms, Lewis Machine & Tool Company, LWRC
                                                 International, LLC, and Patriot Ordnance
24                                               Factory, Inc.
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 1                                         CERTIFICATE OF SERVICE

 2          On July 30, 2020, I certify that a true and correct copy of DEFENDANTS’ MOTION
 3   TO CERTIFY ORDERS FOR DISCRETIONARY INTERLOCUTORY APPEAL UNDER
 4   28 U.S.C. § 1292(b) was filed using the Court’s CM/ECF system, which will electronically notify
 5   all counsel of record including the following.
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